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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


DISPLAY TECHNOLOGIES, LLC,


                        Plaintiff,                      Civil Action No. 2:17-cv-00068
                 v.                                      JURY TRIAL DEMANDED
ZTE (USA) INC.,

                        Defendant.


            PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIMS

        Plaintiff Display Technologies, (LLC “Display”) files this its Answer to Defendant ZTE

(USA) Inc.’s (“ZTE”) Counterclaims.

   The unnumbered paragraphs of the Counterclaims are denied to the extent they require a

response.

   1.       Admitted.

   2.       Admitted based on representation of ZTE.

   3.       Admitted.

   4.       Admitted.

   5.       Admitted.

   6.       Admitted that venue is proper, to the extent other statements require a response they

   are denied.

                                      COUNTERCLAIM I

                 DECLARATION OF NON-INFRINGEMENT-’723 PATENT

   7.       Display re-avers its foregoing responses.
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   8.      Admitted.

   9.      Admitted.

   10.     Denied.

   11.     Denied.

   12.     Denied.

                                     COUNTERCLAIM II

                     DECLARATION OF INVALIDITY-’723 PATENT

   13.     Display re-avers its foregoing responses.

   14.     Denied.

   15.     Denied.

   16.     Denied.

                                DEMAND FOR JURY TRIAL

   17.     No response required.

                                    PRAYER FOR RELIEF

   Display denies that defendant is entitled to the relief sought in Prayer for Relief section of the

Counterclaims, and to the extent Display has not addressed any averments in the Counterclaims

that are deemed to require a response, they are denied.
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Dated: May 1, 2017                                  Respectfully submitted,

                                                    /s/ Thomas C. Wright
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                                CERTIFICATE OF SERVICE

         I hereby certify that a copy of this document was filed electronically in compliance with
Local Rule CV-5, and thereby served on all counsel who have consented to electronic service
this 1st day of May, 2017.


                                                    /s/ Thomas C. Wright
                                                    Thomas C. Wright, Ph.D.
